Case 2:16-cr-00443-JNP Document 42 Filed 05/31/17 PagelD.62 Page 1 of 6

FILED IN UNITED STATE |
COURT, DISTRICT OF OAR mr

JOHN W. HUBER, United States Attorney (#7226) MAY 31 2017
VERNON G. STEJSKAL, Assistant United States Attorney (#8434),,>: MARK JONES, CLERK
Attorneys for the United States of America DEPUTY CLERK
Office of the United States Attorney

111 South Main Street, Suite 1800

Salt Lake City, Utah 84111-2176

Telephone: (801) 524-5682

 

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

 

UNITED STATES OF AMERICA, Case No. 2:16CR00443 JNP
Plaintiff, STATEMENT BY DEFENDANT IN
ADVANCE OF PLEA OF GUILTY
VS. AND PLEA AGREEMENT
JASON WESLEY GOBER,
Judge Jill N. Parrish
Defendant.

 

 

_ [hereby acknowledge and certify that I have been advised of and that I understand
the following facts and rights, and that I have had the assistance of counsel in reviewing,
explaining, and entering into this agreement:

1. As part of this agreement with the United States, I intend to plead guilty to
Count | of the Indictment. My attorney has explained the nature of the charge against
me, and I have had an opportunity to discuss the nature of the charge with my attorney. I
understand the charge and what the government is required to prove in order to convict
me. The elements of Count 1, Possession of Methamphetamine with Intent to Distribute

are:
pane Me
1. That on or about February 10, 2016, in the District of Utah, Jason Gober;

 

2. Knowingly and Intentionally Possessed a Schedule IT Controlled
Substance, Methamphetamine; and

3. At the time of his possession, he had the intent to distribute that
substance to another person or persons.

 
Case 2:16-cr-00443-JNP Document 42. Filed 05/31/17 PagelD.63 Page 2 of 6

2. I know that the maximum possible penalty provided by law for Count 1 of
the Indictment, a violation of 21 U.S.C. § 841(a)(1), is a term of imprisonment of up to
20 years, a fine of $1,000,000, a term of supervised release of not less than 3 years, and
any applicable forfeiture. I understand that if I violate a term or condition of supervised
release, I can be returned to prison for the length of time provided in 18 U.S.C. §
3583(e)(3).

a. Additionally, I know the Court is required to impose an assessment in the
amount of $100 for each offense of conviction, pursuant to 18 U.S.C. § 3013.
Furthermore, restitution to the victim of my offense may be ordered pursuant to 18
U.S.C. § 3663.

b.. I understand that, if I am not a United States citizen, I may be removed
from the United States, denied citizenship, and denied admission to the United States in
the future.

3, I know that the sentencing procedures in this case and the ultimate sentence
will be determined pursuant to 18 U.S.C. § 3553(a), and that the Court must consider, but
is not bound by, the United States Sentencing Guidelines, in determining my sentence. I
have discussed these procedures with my attorney. I also know that the final calculation
of my sentence by the Court may differ from any calculation the United States, my
attorney, or I may have made, and I will not be able to withdraw my plea if this occurs.
However, because my plea of guilty is being entered pursuant to Rule 11(c)(1)(C), as
explained below, J know that I will be able to withdraw my plea if the Court does not
accept the terms of this agreement.

4, I know that I can be represented by an attorney at every stage of the
proceeding, and I know that if I cannot afford an attorney, one will be appointed to
represent me.

5. I know that I have a right to plead “Not Guilty” or maintain my earlier plea
of “Not Guilty” and can have a trial on the charges against me.

6. I know that I have a right to a trial by jury, and I know that if I stand trial
by a jury:

a. I have aright to the assistance of counsel at every stage of the proceeding.
b. [have a right to see and observe the witnesses who testify against me.
c. My attorney can cross-examine all witnesses who testify against me.

‘d. Ican call witnesses to testify at trial, and I can obtain subpoenas to require
the attendance and testimony of those witnesses. If I cannot afford to pay for the
appearance of a witness and mileage fees, the government will pay them.

2

 

 
Case 2:16-cr-00443-JNP Document 42 Filed 05/31/17 PagelD.64 Page 3 of 6

e. I cannot be forced to incriminate myself, and I do not have to testify at any
trial.

f. IfI do not want to testify, the jury will be told that no inference adverse to
me may be drawn from my election not to testify.

g. The government must prove each and every element of the offense charged
against me beyond a reasonable doubt.

h. It requires a unanimous verdict of a jury to convict me.

1. IfI were to be convicted, I could appeal, and if I could not afford to appeal,
the government would pay the costs of the appeal, including the services of appointed
counsel,

7. If I plead guilty, I will not have a trial of any kind.

8. I know that 18 U.S.C. § 3742(c)(1) sets forth the circumstances under
which I may appeal my sentence. However, fully understanding my right to appeal my
sentence, and in consideration of the concessions and/or commitments made by the
United States in this plea agreement, I knowingly, voluntarily and expressly waive my
right to appeal as set forth in paragraph 12 below.

9. I know that 18 U.S.C. § 3742(b) sets forth the circumstances under which
the United States may appeal my sentence.

10. I know that under a plea of guilty the judge may ask me questions under
oath about the offense. The questions, if asked on the record and in the presence of
counsel, must be answered truthfully and, if I give false answers, I can be prosecuted for

perjury.

11. I stipulate and agree that the following facts accurately describe my

conduct. These facts provide a basis for the Court to accept my guilty plea:
aaoN

onEonity 10, 2016, in the District of Utah, I, Jason Gober, knowingly
and intentionally possessed a Schedule II Controlled Substance
methamphetamine with the intent to distribute it to another person.
Specifically on that date, I was stopped by the police and-consentedto-a-
search-ofiny-car” A search of my vehicle revealed approximately 1 pound
of methamphetamine that was hidden in a safe inside a cooler. I knew that
there was methamphetamine in the car, and my intent was to sell it to others
had it not been seized by the police.

12. The only terms and conditions pertaining to this plea agreement between
me and the United States are as follows:

 
Case 2:16-cr-00443-JNP Document 42 Filed 05/31/17 PagelD.65 Page 4 of 6

a. Guilty Plea. I will plead guilty to Count 1 of the Indictment.

b. Stipulated Sentence. Pursuant to Rule 11(c)(1)(C) of the Federal Rules of
Criminal Procedure, the sentence imposed by the Court will be 84 months
imprisonment, which I agree is a reasonable sentence.

(1)  Iunderstand that this agreement, including my plea, the agreed upon
sentence, and all other terms referenced herein, are subject to the approval of, and
acceptance by the Court. I further understand that the Court will likely order the
preparation of a Presentence Report to assist in the determination of whether this plea and
the agreement are appropriate, and I agree to fully cooperate in the preparation of the
Presentence Report.

(2) If, after receiving all relevant information, the Court rejects the plea
agreement and determines that a sentence different from the agreed upon sentence of 84
months will be imposed, I will have the right to withdraw the plea of guilty and the terms
of this agreement will become null and void. Likewise, if the Court rejects the plea
agreement and determines that the sentence should be less than 84 months, I understand
that the United States will have the right to move to vacate this agreement, and all terms
of this agreement will become null and void.

c. Relevant Conduct. [ understand and agree that the Presentence Report
may include descriptions of conduct I engaged in which either was not
charged against me, will not be pleaded to by me, or both. I understand and
agree that the Court may take these facts into consideration in sentencing.

d. Appeal Waiver.

(a) Fully understanding my limited right to appeal my sentence, as
explained above in paragraph 8, and in consideration of the concessions and/or
commitments made by the United States in this plea agreement, I knowingly, voluntarily,
and expressly waive my right to appeal any sentence imposed upon me, except that I do
not waive the right to appeal as set forth in 18 U.S.C. § 3742(c)(1), which states that I
may not file a notice of appeal unless the sentence imposed is greater than the sentence
set forth in this agreement.

(b) I also knowingly, voluntarily, and expressly waive my right to challenge
my sentence, unless the sentence imposed is greater than the sentence set forth in this
agreement, in any collateral review motion, writ or other procedure, including but not
limited to a motion brought under 28 U.S.C. § 2255, except on the issue of ineffective
assistance of counsel.

 
Case 2:16-cr-00443-JNP Document 42 Filed 05/31/17 PagelD.66 Page 5 of 6

(c) I understand that this waiver of my appeal and collateral review rights
concerning my sentence shall not affect the government’s right to appeal my sentence
pursuant to 18 U.S.C. § 3742(c)(2) and § 3742(b)(1) and (2).

(d) I further understand and agree that the word “sentence” appearing
throughout this waiver provision is being used broadly and applies to all aspects of the
Court’s sentencing authority, including, but not limited to: (1) sentencing determinations;
(2) the imposition of imprisonment, fines, supervised release, probation, and any specific
terms and conditions thereof; and (3) any orders of restitution.

e. Presentence Report and Financial Information. I agree to provide
_ truthful and complete information, including financial information, as

requested by the probation office for the preparation of my presentence
report and for determination of the conditions of my supervised release. I
also consent to allowing the United States Attorney’s Office to run a credit
check on me. I consent to being placed on the Treasury Offset Program
and State Finder. I understand and agree that this plea agreement is solely
between me and the United States Attorney for the District of Utah and
does not bind any other federal, state, or local prosecuting, administrative,
or regulatory authorities.

13. [understand that I have a right to ask the Court any questions I wish to ask
concerning my rights about these proceedings and the plea.

* ok * %

I make the following representations to the Court:

1, lam 47 years of age. My education consists of _/ ¥Y
I can read and understand English.

 

2. This Statement in Advance contains all terms of the agreements between
me and the government; if there are exceptions, the Court will be specifically advised,
on the record, at the time of my guilty plea of the additional terms. I understand the
government and I cannot have terms of this plea agreement that are not disclosed to the
Court.

3, No one has made threats, promises, or representations to me that have
caused me to plead guilty, other than the provisions set forth in this agreement.

4. Neither my attorney nor the government has promised me that I would
receive probation or any other form of leniency because of my plea.

 
Case 2:16-cr-00443-JNP Document 42 Filed 05/31/17 PagelD.67 Page 6 of 6

5. I have discussed this case and this plea with my lawyer as much as I wish,
and I have no additional questions.

6. I am satisfied with my lawyer.

7. My decision to enter this plea was made after full and careful thought; with
the advice of counsel; and with a full understanding of my rights, the facts and
circumstances of the case and the consequences of the plea. I was not under the
influence of any drugs, medication, or intoxicants when I made the decision to enter the
plea, and I am not now under the influence of any drugs, medication, or intoxicants.

8. I have no mental reservations concerning the plea.

9. I understand and agree to all of the above. I know that I am free to change
or delete anything contained in this statement. I do not wish to make changes to this
agreement because J agree with the terms and all of the statements are correct.

DATED this g [ day of May, 2017.

 

JAS N WESLEY GOBER
Defendant

I certify that I have discussed this plea agreement with the defendant, that I have fully
explained his rights to him, and that I have assisted him in completing this written agreement. I
believe that he is knowingly and voluntarily entering the plea with full knowledge of his legal
rights and that there is a factual basis for the plea.

DATED this $/ _ day of May, 2017. vy
. —
TN OVERSON

Attorney for Defendant

 

I represent that all terms of the plea agreement between the defendant and the
government have been, or will be at the plea hearing, disclosed to the Court, and there are no
undisclosed agreements between the defendant and the United States.

JOHN W. H i
Cun ne

— ae at SKAL
Assistant United States Attorney

: tf
DATED this J day of May, 2017.

 

 
